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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

A.S.R., On his own behalf and on behalf _ )
of others similarly-situated, )
)
Petitioner, )
Vv. ) Civil No. 3:25-cv-00113

) Judge Stephanie L. Haines
DONALD J. TRUMP, In his official )
capacity as President of the United States, _)
etal., )
)
Respondents. )

ORDER OF COURT

AND NOW, this 13 day of May, 2025, upon due consideration of Petitioner A.S.R.’s
“Motion for Classwide Preliminary Injunction[,]” (ECF No. 56), and for the reasons set forth in
the foregoing Opinion, IT IS HEREBY ORDERED that the Motion is GRANTED insofar as the
Court will require Respondents to provide the notice below before removing A.S.R. pursuant to
the Alien Enemies Act of 1798 (the “AEA”), 50 U.S.C. § 21, and President Donald J. Trump’s
Proclamation entitled “Invocation of the [AEA] Regarding the Invasion of the United States by
Tren De Aragual,]” (the “Proclamation”), 90 Fed. Reg. 13034, invoking the AEA.

IT IS FURTHER ORDERED that Respondents, their officers, agents, servants, employees,
attorneys, and any persons who are in active concert or participation with them, are hereby:
Enjoined, pending further order of this court, from removing A.S.R. pursuant to the AEA and the
Proclamation, unless Respondents first provide: (1) twenty-one (21) days’ notice and an
“opportunity to be heard” to A.S.R., (2) notice to A.S.R. that clearly articulates the fact that he is
subject to removal under the Proclamation and the AEA, (3) notice to A.S.R. in English and

Spanish, the language of the one sought to be expelled, and if needed, Spanish-to-English
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interpreters shall be provided for any necessary hearings, and (4) notice to A.S.R.’s counsel of all
of the foregoing.

IT IS FURTHER ORDERED that nothing in this Order shall be construed to bar the
removal, or release from immigration detention, of A.S.R. pursuant to proceedings held under the
Immigration and Nationality Act (the “INA”).

IT IS FURTHER ORDERED that A.S.R. shall post nominal security of $1.00 in this
matter.

IT IS FURTHER ORDERED that A.S.R.’s Motion at ECF No. 56 is DENIED in all other
respects.

IT IS FURTHER ORDERED that the parties shall appear before this Court for a telephonic

status conference on Monday, May 19, 2025, at 11:00 A.M. The Court will provide the information

for the conference to the parties beforehand.

f tT Ving Cf Sin het BP Deed 2
STEPHANIE L. HAINES
U.S. DISTRICT COURT JUDGE
